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AO 458 (Rcv. 06/09) Appcaranee ot`Counscl

UNITED STATES DISTRICT CoURT

for the
District of Co|umbia

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Plal`mz`]'j{` ) l
v. ) Case No. 19-345
jimDOnal,GlLT!urm>, e,tal,-¢,,,, m )
Deferldarzt )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

,C,Mfgn DaMSimS/,i ,

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